
Hale, J.
As the record is made up in this case, we can not find that the court erred in rendering the judgment of May 9, 1899. There was no motion for a new trial, and no bill of exceptions taken. The evidence upon which that judgment was based is not before the court.
It does appear from the judgment that the Lake Shore Savings Bank Cómpany had the first lien upon the property to be sold. That at the time of the first decree of August 14, 1898, it was not a party to the action, and had never been served with summons. That the property was unsold. That the former decree for some reason was set aside, and final decree entered.
In the absence of the evidence on which this was done, no error affirmatively appears upon the record. It does appear that the corporation now known, as the Lake Shore Savings Bank Company, was incorporated under the name of the Mechanics’ Savings Bank Company, and that there was an attempt to make the Mechanics’ Savings Bank a party to the action, and, at the time the first decree was taken, it was supposed to have been properly served with summons, but the finding of the court in the last decree is that no summons was served on either the Mechanics’ Saving Association or the Lake Shore Savings Bank Company, and that the court had no jurisdiction of the corporation by either name.
This finding is conclusive on this court. With this fact found, there was no-error in entering the last judgment.
We find-no^othór error in the case, and the judgment' of the court below is affirmed. ; ■
